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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION


 ANTHONY UNDERWOOD, et al..

                  Plaintiffs,

 V.

                                               Case No.: 2:18-CV-01310-MHH
 KENNETH E. GULLEY, MAYOR
 OF BESSEMER, et al..

                  Defendants.



                       DEFENDANTS' BRIEF IN OPPOSITION
       TO PLAINTIFF'S MOTION FOR PRELIMINARY INJUNCTION

         COME NOW Defendants Kenneth E. Gulley, Mayor of Bessemer; City of

Bessemer Councilmembers: David Vance, Chester Porter, Cynthia Donald, Donna

Thigpen, Ron Marshall, Jesse Matthews, and Cleophus King; and Wanda Taylor,

Bessemer City Clerk and submit this memorandum brief in opposition to Plaintiffs'

Motion for Preliminary Injunction. Defendants urge this Court to deny Plaintiffs'

motion in that Plaintiffs have failed to satisfy the prerequisites for obtaining such

extraordinary relief.

                                  INTRODUCTION


         The Complaint in this matter makes numerous unsupported allegations

regarding the conduct of municipal elections in Bessemer. However, when given an

opportunity to provide this Court with evidence to support the allegations in the

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